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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 ANNA LA FRONZA, and NATALIA                      )
 KUPIEC, individually and on behalf of all        )
 others similarly situated,                       )     Case No. 1:21-cv-03027
                                                  )
                                Plaintiffs,       )     Hon. Judge Thomas M. Durkin
                                                  )
        v.                                        )     Magistrate Judge Jeffrey T. Gilbert
                                                  )
 PEOPLECONNECT, INC., a Delaware                  )
 corporation, and INTELIUS LLC, a                 )
 Delaware limited liability company,              )
                                                  )
                                Defendants.       )

                 JOINT MOTION FOR LEAVE TO FILE EXCESS PAGES

       Pursuant to Local Rule 7.1, Defendants PeopleConnect, Inc. and Intelius LLC

(“Defendants”) and Plaintiffs Anna La Fronza and Natalia Kupiec (“Plaintiffs”), by and through

their undersigned attorneys, respectfully move for leave for Defendants to file their Memorandum

of Law in Support of their Motion to Dismiss Plaintiffs’ Complaint (“Memorandum in Support”)

in excess of 15 pages, not to exceed 25 pages; for Plaintiffs to file their Response Brief in excess

of 15 pages, not to exceed 25 pages, if necessary; and for Defendants to file their Reply Brief in

excess of 10 pages, not to exceed 15 pages, if necessary. In support of this Motion, the parties state

as follows:

       1.      Despite Defendants’ best efforts in working carefully to prepare an efficient

Memorandum in Support of the motion to dismiss that they will be filing, Defendants believe that

10 additional pages are necessary to adequately address all issues presented in Plaintiffs’

Complaint.
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       2.      Moreover, in the interests of efficiency and to be cognizant of the Court’s time, the

parties agree that Plaintiffs should be permitted up to and including 25 pages for their response to

Defendants’ motion to dismiss if they determine that they need the extra pages after reviewing

Defendants’ motion and that Defendants be permitted up to and including 25 pages for that

memorandum and up to and including 15 pages for their Reply Brief.

       3.      The parties conferred about these issues on October 4, 2021.

       WHEREFORE, the parties respectfully request that this Court grant this Motion and enter

an order granting Defendants leave to file their Memorandum in Support not to exceed 25 pages,

Plaintiffs leave to file their Response Brief not to exceed 25 pages, and Defendants leave to file

their Reply Brief not to exceed 15 pages.




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Dated: October 4, 2021

Respectfully Submitted,

 PEOPLECONNECT, INC., and                            ANNA LA FRONZA and NATALIA
 INTELIUS LLC                                        KUPIEC

 By: /s/ Debbie L. Berman                            By: /s/ Benjamin Scott Thomassen

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                                   CERTIFICATE OF SERVICE

    I, Debbie L. Berman, certify that on October 4, 2021, I caused the foregoing document to be

electronically filed with the Clerk of the Court using the CM/ECF system, which will then send a

Notice of Electronic Filing to all counsel of record.

                                                        /s/ Debbie L. Berman
                                                          Debbie L. Berman
